Case 2:09-cr-00015-EFS   ECF No. 2250   filed 09/01/10   PageID.12541 Page 1 of 6
Case 2:09-cr-00015-EFS   ECF No. 2250   filed 09/01/10   PageID.12542 Page 2 of 6
Case 2:09-cr-00015-EFS   ECF No. 2250   filed 09/01/10   PageID.12543 Page 3 of 6
Case 2:09-cr-00015-EFS   ECF No. 2250   filed 09/01/10   PageID.12544 Page 4 of 6
Case 2:09-cr-00015-EFS   ECF No. 2250   filed 09/01/10   PageID.12545 Page 5 of 6
Case 2:09-cr-00015-EFS   ECF No. 2250   filed 09/01/10   PageID.12546 Page 6 of 6
